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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Carole Herbster, Alex Schap, and
Charles Schap,
Plaintiffs, Case No.:l6-CV-l l555
v.

3550 Condominiurn Association; DK Condo,
A Draper and Kramer Company,

 

Defendants.

DEFENDANTS’ ANSWER TO PLAINTIFFS’ AMENDED COMPLAINT

Defendants, 3550 CONDOMINIUM ASSOCIATION and DK CONDO, A DRAPER
AND KRAl\/IER COMPANY (collectively, “Defendants”), by their undersigned attorneys, state
as follows for their Answer to Plaintiffs’ Amended Complaint:

INTRODUCTION

l. Carole Herbster lives at 3550 North Lake Shore Drive, a condominium building,
With her husband, Charles, and daughter, Alex (collectively, “Plaintiffs” or the “Family”). Dr.
Herbster has a disability and uses a Wheelchair for mobility. She also uses a service animal, Hadi,
to assist her With the tasks of daily living. Charles and AleX assist Dr. Herbster With Hadi’s care
and training.

ANSWER: Defendants admit that Carole Herbster lives at 3550 North Lake Shore
Drive, a condominium building, With her husband, Charles, and daughter, Alex (collectively,
“Plaintiffs” or the “Family”). Defendants admit that Dr. Herbster has a disability and uses
a Wheelchair for mobility. Defendants lack knowledge or information sufficient to form a

belief as to the truth of the allegations that Carole Herbster uses a service animal, Hadi, to

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assist her with the tasks of daily living or that Charles and AleX assist Dr. Herbster with
Hadi’s care and training.

2. Dr. Herbster’s building does not allow dogs. Upon moving in, the Defendants 3550
Condominium Association and DK Condos (collectively, “Defendants”) told Dr. Herbster she was
not allowed to have a service animal. Eventually, Defendants agreed to allow Dr. Herbster to keep
her service animal, but insisted that When Charles or Alex were with the dog, they could only use
the back entrance and freight elevator of the building. Defendants stated this was necessary to
discourage the presence of other assistance animals in the building. Defendants’ comments to the
family as well as their restrictions on Charles’ and Alex’s use of the building violate the federal
Fair Housing Act.

ANSWER: Defendants admit that Dr. Herbster’s building does not allow dogs,
except for service animals allowed pursuant to a proper request. Defendants admit that,
upon moving in and prior to learning of Dr. Herbster’s disability and alleged need for a
service animal, and prior to receiving any certification or paperwork regarding the same,
Defendants told Dr. Herbster that she was not allowed to have a dog in the building.
Defendants deny that they told Dr. Herbster that she could not have a service animal.
Defendants admit that they agreed to allow Dr. Herbster to keep her service animal, but
insisted that when Charles or Alex were with the dog (but not with Dr. Herbster), they would
house the back entrance and freight elevator of the building. Defendants deny the remaining
allegations contained in Paragraph 2.

PARTIES

3. Plaintiff Carole Herbster (“Dr. Herbster”) lives at 3550 North Lal<e Shore Drive,

Unit 702, Chicago, Illinois 60657 (“subject property”). She has a disability Dr. Herbster lives at

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the subject property with her daughter, Plaintiff AleX Schap (“Alex”), who is 21 years old, and her
husband, Plaintiff Charles Schap (“Charles”).

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the allegation that Alex is 21 years old, but admit the remaining allegations contained in
Paragraph 3.

4. Defendant 35 50 Condominium Association (the “Association”) is the
condominium association for the subject property. The Association is an lllinois Corporation.

ANSWER: Defendants admit the allegations contained in Paragraph 4.

5. Defendant DK Condo, a Draper and Kramer Company (“DK Condo”), is the
property management company for the subject property. DK Condo is an lllinois Corporation.

ANSWER: Defendants admit the allegations contained in Paragraph 5.

JURISDICTION AND VENUE

6. This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §
1331 and 42 U.S.C. § 3613(a). Plaintiffs’ claims for declaratory and injunctive relief are
authorized under 28 U.S.C. §§ 2201-02 and 42 U.S.C. § 3613(0)(1).

ANSWER: Defendants object to Paragraph 6 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit the allegations contained in Paragraph 6.

7. Venue is proper in the Northern District of lllinois under 28 U.S.C. § l39l(b)
because Defendants reside there and because a substantial part of the events or omissions giving

rise to Plaintiffs’ claims arose there.

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ANSWER: Defendants object to Paragraph 7 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit the allegations contained in Paragraph 7 .

STATEMENT OF FACTS

Service Animal Background

 

8. Dr. Herbster has lived in her condominium building since June 20l6. She lives
with her daughter, Alex, and her husband, Charles. Dr. Herbster has a physical disability and uses
a manual wheelchair for mobility.

ANSWER: Defendants admit the allegations contained in Paragraph 8 upon
information and belief.

9. Due to her disability, Dr. Herbster experiences pain from overuse of her shoulders
and arms. She has difficulty using her arms to pick up obj ects, stabilize her chair, open doors, turn
lights on and off, open hard~to-open drawers, and retrieve the phone. About seven years ago, Dr.
Herbster got her first service dog to assist her with these and similar tasks. Her service dog is
necessary to enable her to live independently

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 9.

l(). Dr. Herbster’s first service dog passed away in August 2015. That dog was from
an organization that helps train service animals As part of getting her first service animal, Dr.
Herbster and her dog received extensive training to learn how to work together After that first
dog passed away, rather than wait for another dog through the same program, Dr. Herbster opted
on her own to train her next dog, Hadi, with the assistance of Charles and AleX. All three Plaintiffs

participate in the training of and care for the do g.

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ANSWER: Defendants lack knowledge or information sufficient to form a belief as

to the truth of the allegations contained in Paragraph 10.
Purchasing the Unit

ll. The property’s Declaration of` Condominium Ownership requires all owners to
comply with the by-laws, rules, and regulations set forth by the Association. see Declaration of
Condominium Ownership and By-Laws 3550 Condominium Association, p. l(), attached as
Exhibit A.

ANSWER: Defendants state that the Declaration of Condominium Ownership is a
written document which speaks for itself and deny any allegations in Paragraph 11 contrary
thereto. y

12. The Association’s By-Laws give the Board of Directors of the Association the
power to “adopt rules and regulations with written notice thereof to all Unit ()wners, governing
the administration, management, operation and use of the Property and Common Elements, and to
amend such rules and regulations from time to time.” By-Laws Article ll, Section 8(e), EX. A at
20. Pursuant to this authority, the Association instituted an assistance animal policy.

ANSWER: Defendants state that the Association’s By-Laws are a written
document which speaks for itself and deny any allegations in Paragraph 12 contrary thereto.
Answering further, Defendants further state that they have authority to institute rules and
regulations pursuant to the Association By-Laws and also per the Illinois Condominium
Property Act.

13. The Association’s assistance animal policy states the following: “DOGS ARE NOT
PERMITTED IN THE BUILDING UNDER ANY CIRCUMSTANCES WITH THE

EXCEPTION OF SEEING EYE DOGS OR OTHER TRAINED ANIMAL FOR A

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PHYSICALLY CHALLENGED PERSON.” [Capitalization and bold in original]. 3550
Condominium Association Rules and Regulations, attached as Exhibit B.

ANSWER: Defendants state that the Exhibit B is a written document which speaks
for itself and deny any allegations in Paragraph 13 contrary thereto.

14. Dr. Herbster and her husband purchased their unit in 2015, approximately a year
before they moved in. Before they bought the unit, Dr. Herbster read the Association’s Rules and
Regulations, to review its service animal policy.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations that Dr. Herbster read the Association’s Rules and Regulations
prior to buying the unit. Defendants admit the remaining allegations contained in Paragraph
14.

l5. After reviewing the policy, Dr. Herbster went to the management office and met
with Assistant Manager Veronica Camacho. She told l\/ls. Camacho about her service animal. Ms.
Camacho raised no objection to the animal. Dr. Herbster’s service animal accompanied her when
her family visited the unit before purchasing it, and when they returned to close on the unit. During
the year between when Plaintiffs purchased the unit and when they moved in, they frequently
communicated with Property Manager J im Quinett (“l\/Ir. Quinett”) and Assistant Property
Manager Laura Guzman (“l\/Is. Guzman”) regarding renovation of and other issues with the
condominium unit. During the course of this year after her first service animal passed away Dr.
Herbster would update Ms. Guzman on her progress with Hadi.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegation that Dr. Herbster reviewed the policy prior to going to the

management office and meeting with Assistant Manager Veronica Camacho. Defendants

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deny that Dr. Herbster told Ms. Camacho about her service animal and that Ms. Camacho
raised no objection to the animal. Defendants lack knowledge or information sufficient to
form a belief as to the truth of the allegation that Dr. Herbster’s service animal accompanied
her when her family visited the unit before purchasing it, and when they returned to close
on the unit. Defendants admit that during the year between when Plaintiffs purchased the
unit and when they moved in, they frequently communicated with Property Manager Jim
Quinett (“Mr. Quinett”) and Assistant Property Manager Laura Guzman (“Ms. Guzman”)
regarding renovation of and other issues with the condominium unit. Defendants lack
knowledge or information sufficient to form a belief as to the truth of the allegation that
during the course of this year after her first service animal passed away Dr. Herbster would
update Ms. Guzman on her progress with Hadi.
Moving into the Unit

16. About a month before the move, Dr. Herbster injured her arm. As a result, Alex
and Charles have assumed a more prominent role training and caring for Hadi.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegations contained in Paragraph 16.

l7. On June l, 2016, Dr. Herbster contacted Ms. Guzman to ask if she would alert the
building employees about her service dog, so they would not interfere with the dog in the building
She made this request because, during previous visits to the building, maintenance personnel had
stopped Dr. Herbster when she was with Hadi and told her she could not have the dog in the
building l\/ls. Guzman told Dr. Herbster she would need to provide a doctor letter to support her
need for the dog and get Board approval before she would be allowed to have a service animal.

Dr. Herbster stated via e-mail that the building had never said anything about a doctor note or

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Board approval before, even though they had been in communication that whole year. She did not
receive a response

ANSWER: Defendants admit that on June 1, 2016, Dr. Herbster contacted Ms.
Guzman to ask if she would alert the building employees about her service dog. Defendants
lack knowledge or information sufficient to form a belief as to the truth of the allegations
regarding the reason that Dr. Herbster contacted Ms. Guzman. Defendants admit that that
Ms. Guzman told Dr. Herbster she would need to provide a doctor letter to support her need
for the dog and get Board approval. Defendants admit that Dr. Herbster stated via e-mail
that the building had never said anything about a doctor note or Board approval before.

18. Dr. Herbster and her family moved in on June 7, 2016. One time, within the first
few days after they moved, Alex took Hadi out to relieve herself and returned shaking and close
to tears. She told her mother that another tenant, who later was identified as the Board President,
Fran Mills (“l\/ls. Mills”), yelled at her. Ms. Mills told Alex the subject property was a no-dog
building, and asked Alex if management knew anything about the dog. Since this encounter, Alex
has been scared to take Hadi out for fear of future confrontations

ANSWER: Defendants admit that Plaintiffs moved in to 3550 N. Lake Shore Drive
on June 7, 2016. Defendants lack knowledge or information sufficient to form a belief as to
the truth of the allegation that one time Alex, after taking Hadi out, returned shaking and
close to tears. Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegation that Alex told her mother that another tenant yelled at her. Defendants
admit that Ms. Mills told Alex the subject property was a no-dog building, but deny that Ms.

Mills “yelled” at Alex. Defendants lack knowledge or information sufficient to form a belief

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as to the truth of the allegation that Alex has been scared to take Hadi out for fear of future
confrontations.

19. On June l7, 2016, Dr. Herbster received an e~mail from Ms. Guzman that stated:
“The front desk staff told me that yesterday you inquired about allowing your dog in the lobby.
The rules and regulations state that no leashed or unleashed pet is permitted in the lobby, so the
answer is no.” E-mail from Laura Guzman to Carole Herbster (June 17, 2016), attached as Exhibit
C. Dr. Herbster wrote via e-mail: “I sent the copy of the law last week and your rules and regs
allow it, l never asked permission I do know that one front desk person scowls at me so she may
have asked. The bldg. needs to familiarize themselves.” Ex. C.

ANSWER: Defendants admit the allegations contained in Paragraph 19.

20. At the end of that same day, counsel for the Association sent a letter to Dr. Herbster
titled “Emotional Support Animal Request for Unit 702.” The letter directed that Dr. Herbster
either “comply with the Association’s no dog requirement or make a properly documented request
for a reasonable accommodation.” The letter requested that Dr. Herbster provide documentation
of her disability and the disability-related need for the accommodation to the building’s no pets
policy. lt stated that “[u]ntil such information is provided, you are not allowed to maintain a dog
in the building and any attempt to do so will be considered a deliberate violation of the
Declaration.” Letter from Matthew J. Goldberg to Dr. Herbster and l\/Ir. Schap (June 17, 2016),
attached as Exhibit D.

ANSWER: Defendants admit that counsel for the Association sent a letter to
Dr. Herbster titled “Emotional Support Animal Request for Unit 702”, directing Dr.
Herbster to “comply with the Association’s no dog requirement or make a properly

documented request for a reasonable accommodation.” Defendants admit that the letter

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requested that Dr. Herbster provide disability-related information if she wished to receive
an accommodation. Defendants deny any remaining allegations contained in Paragraph 20
and state that the letter speaks for itself.

21. Dr. Herbster immediately called counsel for the Association. She was concerned it
would take some time to get a doctor letter documenting her disability and, in the meantime, she
needed Hadi’s assistance She emphasized to the Association’s counsel that she could not get rid
of the dog _ indeed, she said to ban Hadi would be like taking her wheelchair away.

ANSWER: Defendants admit that Dr. Herbster called counsel for the Association
and at that time explained that her dog was not a support animal, but a service dog.
Defendants deny that Dr. Herbster emphasized to the Association’s counsel that she could
not get rid of the dog and further State that upon learning that Dr. Herbster’s dog was a
service animal, he advised her that she need not provide disability related information, but
discussed that reasonable accommodations would have to be agreed upon regarding where
her family could walk the dog. Defendants lack knowledge or information sufficient to form
a belief as to the truth of the allegations that Dr. Herbster was concerned it would take some
time to get a doctor letter documenting her disability and that she needed Hadi’s assistance
in the meantime. Defendants deny any remaining allegations contained in Paragraph 21.

Condominium Association Restricts Family’s Path1

22. The condominium building faces Lake Shore Drive and is bordered on the north by
Addison Street and on the south by Brompton Street. There are three possible entrances/exits the
family can use when walking the do g. There is a front lobby entrance, which faces east onto Lake

Shore Drive, which is well~lit, and has a driveway. There are several maj or bus routes that stop at

 

1 To the extent that the headings in Plaintiffs’ Complaint constitute factual allegations, Defendants deny all headings
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the bus stop directly in front of this exit. There is also a side entrance on the southeast side of the
building, which exits onto Brompton, near the intersection of Brompton and Lake Shore Drive.
There is less street lighting on Brompton, which is a side street, and it is more desolate. Finally,
there is a back entrance near the receiving room of the building, which also exits onto Brompton
near the southwest corner of the block, closer to the intersection on Brompton and Pine Grove
Avenue. The building has two elevators: a freight elevator and passenger elevator.

ANSWER: Defendants admit that the condominium building faces Lake Shore
Drive and is bordered on the north by Addison Street and on the south by Brompton Street.
Defendants admit that there are three possible entrances/exits. Defendants admit that there
is a front lobby entrance, which faces east onto Lake Shore Drive, which is well-lit, and has
a driveway. Defendants admit that there are several major bus routes that stop at the bus
stop directly in front of this exit. Defendants admit that there is also a side entrance on the
southeast side of the building, which exits onto Brompton, near the intersection of Brompton
and Lake Shore Drive. Defendants admit that there is less street lighting on Brompton,
which is a side street, but deny that there is a material difference and deny that it is more
desolate. Defendants admit that there is a back entrance near the receiving room of the
building, which also exits onto Brompton. Defendants deny that the back entrance is located
near the southwest corner of the block, but admit that it is slightly closer to the intersection
of Brompton and Pine Grove Avenue than the side entrance is. Defendants deny that the
building has two elevators, as the building has three passenger elevators and one freight
elevator.

23. After the family received the letter of June 17, 2016 from the attorney for the

Association, whenever Alex tried to enter or exit the building through the side or lobby entrance

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or use the passenger elevator, the doorman demanded she use the freight elevator and back entrance
instead.

ANSWER: Defendants deny the allegations contained in Paragraph 23.

24. The freight elevator is problematic for several reasons First, it is often used for
moves or deliveries, and is not always available. Second, it is dirty and has a strong odor. In
addition, the route out the back entrance is out of the way for the family. Going out the back
entrance is in the opposite direction of the bus routes that stop directly in front of the subject
property. ln addition, the back entrance is to a side street, unlike the lobby entrance, which leads
to well-lit Lake Shore Drive.

ANSWER: Defendants deny that the freight elevator is problematic. Defendants
admit that the freight elevator is sometimes used for moves or deliveries and when it is in use
for such reasons, it is not always immediately available. Defendants deny that it is dirty and
has a strong odor and further state that it has recently been renovated. Defendants deny that
the route out the back entrance causes any material inconvenience to Plaintiffs, but admit
that, literally speaking, the back entrance is farther from the bus stop on Lake Shore Drive
than the front entrance. Defendants admit that the back entrance is to a side street, unlike
the lobby entrance, which leads to Lake Shore Drive. Defendants deny any material
difference in the lighting between the front and sides of the building, Defendants deny any
remaining allegations contained in Paragraph 24.

Meetings between the Familv and Defendants

25. Due to the building’s frequent statements to Alex about where Hadi was allowed,

Dr. Herbster and Charles set up a meeting with l\/lr. Quinett, Ms. l\/lills, and Board Vice President

Dr. Raphael Juss. Ahead of the meeting, Dr. Herbster submitted documentation from her doctor

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regarding her disability and need for the accommodation to the no dog policy.

ANSWER: Defendants admit that a meeting was arranged between Dr. Herbster,
Charles Herbster, Mr. Quinett, Ms. Mills, and Board Vice President Dr. Raphael Juss to
attempt to reach an agreement as to reasonable accommodations for walking the dog in the
building, Defendants admit that ahead of the meeting, Dr. Herbster submitted
documentation from her doctor regarding her disability and need for the accommodation to
the no dog policy. Defendants deny the remaining allegations contained in Paragraph 22.

26. The meeting occurred on June 28, 2016. At the meeting, the Association stated that
although it had “no issue” with Dr. Herbster’s service animal, it was concerned that if other
residents saw Hadi around the building, it would lead to an increase in emotional support animals
in the building The Association stated that because Alex does not “look disabled,” other residents
who observed her with the dog would assume the dog was needed for emotional support, and this
would encourage more residents to claim they need emotional support animals. The Association
stated there was already one other owner with an emotional support animal, and that if owners saw
Hadi, this would “make it worse.” The Association also stated that some residents may be allergic
or fearful of dogs, lt alleged a particular owner had a “breakdown” from seeing a dog near the
front of the building, and expressed concern that this owner would have a similar reaction upon
seeing Hadi.

ANSWER: Defendants admit that the meeting occurred on June 28, 2016.
Defendants admit that at the meeting, the Association stated that it had “no issue” with Dr.
Herbster’s service animal. Defendants admit that the Association voiced concerns about the
reaction of other residents in the no-pet building. Defendants deny that the Association stated

there was already one other owner with an emotional support animal and that if owners saw

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Hadi, this would “make it worse.” Defendants admit that the Association stated that some
residents are allergic and fearful of dogs, Defendants admit that the Association stated that
one unit owner had a breakdown from seeing a dog near the front of the building. Defendants
admit that the Association expressed concern that this owner would have a similar reaction
upon seeing Hadi. Defendants deny the remaining allegations contained in Paragraph 26.

27. Because of these concems, the Association told Dr. Herbster that her family would
be allowed to keep the dog as long as they were “discreet.” The Board presented the following
conditions in order for Hadi to remain in the building: (l) Alex and Charles must use the freight
elevator to take the dog out, and only use the passenger elevator if the freight elevator were
occupied; (2) Alex and Charles must not take the dog into the lobby or side entrance, and must
exit by way of the back entrance instead; and (3) Alex and Charles must not go into the mail room
with the dog.

ANSWER: Defendants admit that, in an effort to balance the interests of its other
residents along with the interests of Plaintiffs, the Association granted Plaintiffs the following
accommodation: (1) Alex and Charles should use the freight elevator to take the dog out, and
only use the passenger elevator if the freight elevator was occupied; (2) Alex and Charles
could not take the dog into the lobby or through the side entrance, and should exit by way of
the back entrance instead; (3) Alex and Charles should not go into the mail room with the
dog; and (4) Dr. Herbster could go anywhere in the building with the dog. Defendants deny
any remaining allegations contained in Paragraph 27.

28. Although Dr. Herbster knew these conditions violated the federal Fair Housing Act,
she agreed to them on a trial basis in an attempt to resolve the issue and avoid further dispute. To

this end, Dr. Herbster asked that if staff observed Alex and Hadi take a route other than the back

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entrance and freight elevator, that staff contact Dr. Hebster rather than Alex. This would enable
Dr. Herbster to talk to Alex about the issue and avoid a confrontation between Alex and staff.

ANSWER: Defendants lack knowledge or information sufficient to form a belief as
to the truth of the allegation that Dr. Herbster knew these conditions violated the federal
Fair Housing Act, but deny that the aforementioned accommodations violated any state or
federal law. Defendants admit that Dr. Herbster agreed to the aforementioned
accommodations, but deny that it was “on a trial basis.” Defendants admit that Dr. Herbster
asked that if staff observed Alex and Hadi take a route other than the back entrance and
freight elevator, that staff contact Dr. Herbster rather than Alex. Defendants admit that this
would allow Dr. Herbster to talk to Alex about the issue and avoid communication between
Alex and staff. Defendants deny any remaining allegations contained in Paragraph 28.

29. A few days later, on July l, 2016, Dr. Herbster received several e-mails within a
few minutes from Mr. Quinett that stated that Alex had used the passenger elevator instead of the
freight elevator when walking Hadi. Dr. Herbster was extremely upset about receiving so many
e~mails within a short period of time, because she felt her family was being monitored. Charles
and Dr. Herbster went to the management office immediately, and Charles told Mr. Quinett the
Family would no longer follow the agreement Later that day, Dr. Herbster and Charles told Alex
to exit and enter the building through whichever door she wished when walking Hadi.

ANSWER: Defendants admit that a few days later, on July 1, 2016, Dr. Herbster
received two emails from Mr. Quinett, one of which was incomplete and sent in error, that
stated that Alex had used the passenger elevator instead of the freight elevator when walking
Hadi. Defendants lack knowledge or information sufficient to form a belief as to the truth of

the allegation that Dr. Herbster was extremely upset or the allegation regarding why she was

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upset. Defendants admit that Charles and Dr. Herbster went to the management office
immediately, and Charles told Mr. Quinnett the family would no longer follow the agreement
that had been reached. Defendants lack knowledge or information sufficient to form a belief
as to the truth of the allegation that later that day, Dr. Herbster and Charles told Alex to exit
and enter the building through whichever door she wished when walking Hadi, but admit
that Charles and Alex have disregarded the prior agreement and continue to walk Hadi
wherever they wish in the building,

30. Alex continued to be stopped when she walked the dog out the lobby or side door.
In fact, several doormen told Charles and Dr. Herbster they were directed by Defendants to record
how often the Family went out the front lobby or side door with Hadi and report that information
to Mr. Quinett,

ANSWER: Defendants deny that Alex continued to be stopped when she walked
the dog out the lobby or side door. Defendants lack knowledge or information sufficient to
form a belief as to the truth of the allegation that several doormen told Charles and Dr.
Herbster they were directed by Defendants to record how often the family went out the front
lobby or side door With Hadi and report that information to Mr. Quinett,

31. On July 27, 2016, Dr. Herbster, through her attorney, sent a letter to the Association
to ask that it: (a) cease harassing Dr. Herbster about her service dog; (b) allow Dr. Herbster’s
daughter and husband, who help train the service dog, to use the passenger elevator and any
entrance or exit they choose while training and walking the service dog; (c) allow Dr. Herbster to
explain her need for a service dog in writing to all other tenants and building staff so they are aware
and fully informed; and (d) allow Dr. Herbster to install a clear kick plate on the exterior base of

her unit door to prevent damage to the door from Dr. Herbster’s wheelchair. Letter from Mary

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Rosenberg, Staff Attorney, to Matt Goldberg (July 27, 2016), attached as Exhibit E.

ANSWER: Defendants admit the allegations contained in Paragraph 31.

32. ()n August 8, 2016, the Association responded in writing that it would allow Dr.
Herbster to install the kick plate, and it proposed that the parties get together to discuss her
reasonable accommodation requests

ANSWER: Defendants admit the allegations contained in Paragraph 32.

33. On September 21, 2016, Dr. Herbster met with the Board expecting to discuss her
accommodation requests However, the Board did not discuss Dr. Herbster’s requests Rather,
the Board and its Attorney questioned Dr. Herbster regarding her need for dog, and refused to
answer questions posed by Dr. Herbster. During the meeting, Dr. Herbster suggested a
compromise wherein if a family member became aware that a resident on the passenger elevator
was afraid of dogs, the family member would take the next elevator. The Board did not comment
on Dr. Herbster’s suggestion The Attorney for the Condominium Association indicated the Board
would vote on the issue at the next Board meeting, in October 2016.

ANSWER: Defendants admit that on September 21, 2016, Dr. Herbster met with
the Board. Defendants lack knowledge or information sufficient to form a belief as to the
truth of the allegation that Dr. Herbster expected to discuss her accommodation requests
Defendants deny that the Board did not discuss Dr. Herbster’s accommodation requests and
deny that it and its attorney questioned Dr. Herbster regarding her need for dog and refused
to answer questions posed by Dr. Herbster. Rather, the Board attempted to engage in an
interactive discussion with Dr. Herbster in order to determine reasonable accommodations
Defendants admit that during the meeting, Dr. Herbster suggested that if a family member

became aware that a resident on the passenger elevator was afraid of dogs, the family

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member would take the next elevator. Defendants admit that the Board did not comment on
Dr. Herbster’s suggestion at the meeting, Defendants admit that the attorney for the
Association indicated that the Board would vote on the issue at the next Board meeting, in
October 20l6.

34. On October 21, 2016 Defendants responded in writing that they would allow
Charles and Alex to walk Hadi under the following conditions: (l) between the hours of 7 a.m. to
7 p.m. they must use the freight elevator and back entrance, (2) between the hours of 7 p.m. to 7
a.m. they would be allowed to use the side entrance', (3) they use the passenger elevator only when
the freight elevator is unavailable; (4) if they use the passenger elevator and there is already an
occupant in the elevator, they must ask permission of the occupant to ride the elevator, and if the
occupant were to refuse, they must wait for the next elevator; and (5) the Herbster family is
responsible for any damage caused by Hadi. Letter from Matthew Goldberg to Mary Rosenberg
(October 21, 2016) attached as Exhibit F.

ANSWER: Defendants admit the allegations contained in Paragraph 34.

35. Under this proposal, Charles and Alex cannot use the exit and route of their choice
Rather, from 7 a.m. to 7 p.m. they are obligated to use the freight elevator and back entrance, both
of which are highly undesirable After 7 p.m., the only change is that they may use the side
entrance as well. At no time are Charles and Alex allowed to use the lobby, which they prefer,
when with Hadi. The only time Charles and Alex may use the passenger elevator is when the
service elevator is unavailable and if they do use the passenger elevator, they must affirmatively
ask permission from the passengers in the elevator.

ANSWER: Defendants admit that under this proposal, Charles and Alex cannot

use the exit and route of their choice when they are walking the service animal without Dr.

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Herbster present. Defendants deny that the freight elevator and back entrance are
undesirable Defendants admit that under this proposed accommodation, after 7 p.m.,
Charles and Alex may use the side lobby entrance as well. Defendants admit that, under this
proposed accommodation, at no time would Charles and Alex be allowed to use the front
lobby when they are with the service animal but without Dr. Herbster. Defendants lack
knowledge or information sufficient to form a belief as to the truth of the allegation that
Charles and Alex prefer the lobby. Defendants deny that the only time Charles and Alex may
use the passenger elevator is when the service elevator is unavailable, and if they do use the
passenger elevator, they must affirmatively ask permission from the passengers in the
elevator. However, Defendants admit that under the proposed accommodation, when Alex
and/or Charles are with Hadi but not in the presence of Dr. Herbster, they may only use the
passenger elevator when the service elevator is unavailable, and if they do use the passenger
elevator under this scenario they must ask permission from any passengers in the elevator.
36. This situation has caused damage to Plaintiffs. The family was excited to move
into the building, but now they are uncomfortable The family’s comings and goings are being
monitored Even Dr. Herbster feels unsafe and uncomfortable when walking Hadi on her own. ln
addition, Charles and Dr. Herbster are particularly concerned for their daughter, Alex, since she
has frequently been confronted by building personnel for not going out the back door. The family
members are being treated as second~class citizens because of Dr. Herbster’s service animal.
ANSWER: Defendants deny that the situation has caused damage to Plaintiffs, that
the family’s comings and going are being monitored any more than any other resident of the
building, that Alex has been frequently confronted by building personnel for not going out

the back door, and that the family members are being treated as second-class citizens because

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of Dr. Herbster’s service animal. Defendants lack knowledge or information sufficient to
form a belief as to the truth of the allegations that the family was excited to move into the
building but are now uncomfortable, that Dr. Herbster feels unsafe and uncomfortable, and
that Charles and Dr. Herbster are concerned for their daughter.

DISCRIMINATION UNDER THE FAIR HOUSING ACT
C()UNT I: DISCRIMINATORY TERMS AND CONDITIONS

37. Plaintiffs re-allege and incorporate paragraphs #1-36 as if fully set forth herein.

ANSWER: Defendants re-allege and incorporate their answers to Paragraphs #1-
36 as if fully set forth herein.

38. ln 1968, Congress enacted the Fair Housing Act, prohibiting discrimination on the
basis of race, gender, national origin, and religion in the provision of housing. In 1988, through
the Fair Housing Amendments Act, Congress extended the law’s protections to people with
disabilities

ANSWER: Defendants object to Paragraph 38 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit only those duties imposed by law and deny any allegations in Paragraph
38 that are contrary thereto.

39. Under the Fair Housing Amendments Act, it is unlawful, “[t]o discriminate in the
sale or rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter because
of a [disability] of~ (A) that buyer or renter; (B) a person residing in or intending to reside in that
dwelling after it is so sold, rented, or made available; or (C) any person associated with that buyer
or renter.” 42 U.S.C. § 3604(f).

ANSWER: Defendants object to Paragraph 39 on the basis that it is a legal

conclusion and not a statement of fact. Notwithstanding and subject to said objection,
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Defendants admit only those duties imposed by law and deny any allegations in Paragraph
39 that are contrary thereto.

40. The Fair Housing Act prohibits a housing provider from “[discriminating] against
any person in the terms, conditions, or privileges of sale or rental of a dwelling, or in the provision
of services or facilities in connection with such dwelling, because of a [disability] of that person;
or . . . any person associated with that person.” 42 U.S.C. § 3604(f`).

ANSWER: Defendants object to Paragraph 40 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit only those duties imposed by law and deny any allegations in Paragraph
40 that are contrary thereto.

41. Defendants discriminated against Plaintiffs when they refused to allow them to use
the front or side entrances, or use the passenger elevator, with the service animal. But for Dr.
Herbster and her service animal, Charles and Alex could use any entrance or elevator. Because of
their assistance with training and caring for Hadi, Charles and Alex are forced use only certain
exits and the freight elevator -~ both of which are undesirable To treat Plaintiffs differently and
constrict which parts of the building they are able to use because of their connection to Dr. Herbster
and her service animal constitutes discriminatory terms and conditions in violation of the FHA.

ANSWER: Defendants deny the allegations contained in Paragraph 41.

42. Defendants acted intentionally, willfully, and/or in reckless disregard of Plaintiffs’
rights

ANSWER: Defendants deny the allegations contained in Paragraph 42.

COUNT II: DISCRIMINATORY STATEMENTS

43. Plaintiffs re-allege and incorporate paragraphs 1-42 as if fully set forth herein.

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ANSWER: Defendants re-allege and incorporate their answers to Paragraphs #1-
42 as if fully set forth herein.

41. Under the federal Fair Housing Act, it is unlawful, “[t]o make, print, or publish, or
cause to be made, printed, or published any notice, statement, or advertisement, with respect to the
sale or rental of a dwelling that indicates any preference, limitation, or discrimination based on
[disability] . . . or an intention to make any such preference limitation, or discrimination.” 42
U.S.C. § 3604(0).

ANSWER: Defendants object to Paragraph 41 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit only those duties imposed by law and deny any allegations in Paragraph
41 that are contrary thereto.

42. Defendants’ service animal policy, as published in the Rules and Regulations, is
discriminatory It states: DOGS ARE NOT PERMITTED lN THE BUILDING UNDER ANY
CIRCUMSTANCES WITH THE EXCEPTION OF SEEING EYE DOGS OR OTHER
TRAINED ANIMAL FOR A PHYSICALLY CHALLENGED PERSON. [emphasis in
original]. Ex. B.

ANSWER: Defendants deny that its “service animal policy” is discriminatory.
Defendants further state that the Exhibit B is a written document which speaks for itself and
deny any allegations in Paragraph 42 contrary thereto.

43. Defendants’ policy violates the FHA in at least two ways First, the Fair Housing
Act allows assistance animals for any disability, not just those with physical disabilities as long
as it is necessary and reasonable for the person with a disability to enjoy his/her housing See

Servz'ce Animals and Assistance Animalsfor People with Disabz'lities in Housing and HUD-Fanded

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Programs (“HUD Report”), Washington, DC (April 25, 2013), p. 2~4. On its face, however,
Defendants’ assistance animal policy only allows assistance animals for people with physical
disabilities As a result, dogs that assist people with non-physical disabilities (eg., a seizure alert
dog for a person with epilepsy) are not permitted in the building

ANSWER: Defendants deny that any of their policies violate the FHA in any way.
Defendants further state that the Exhibit B is a written document which speaks for itself and
deny any allegations in Paragraph 43 contrary thereto. Defendants object to the allegation
that the Fair Housing Act allows assistance animals for any disability, not just those with
physical disabilities, as long as it is necessary and reasonable for the person with a disability
to enjoy his/her housing, on the basis that it is a legal conclusion and not a statement of fact.
Notwithstanding and subject to said objection, Defendants admit only those duties imposed
by law and deny any allegations in Paragraph 43 that are contrary thereto. Defendants deny
that dogs that assist people with non-physical disabilities (e.g., a seizure alert dog for a person
with epilepsy) are not permitted in the building,

44. Second, Defendants’ policy requires an animal to be “trained,” which is not
required under the Fair Housing Act. Bronk v. Ineichen, 54 F.3d 425, 431 (7th Cir. 1995) (A dog
does not need to be professional trained or certified to qualify as a service dog under the Fair
Housing Act); HUD Report at 2 (“[fjor purposes of reasonable accommodation requests, neither
the [FHA] nor Section 504 requires an assistance animal to be individually trained or certified.”).
This language prevents people with emotional support animals from purchasing a unit at the
building because emotional support dogs are not necessarily trained

ANSWER: Defendants objection to the allegation that Defendants’ policy requires

an animal to be “trained,” which is not required under the Fair Housing Act, on the basis

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that it is a legal conclusion and not a statement of fact (as evidenced by the legal citation).
Defendants deny the remaining allegations contained in Paragraph 44.

45. As part of purchasing a condominium at the building, Plaintiffs agreed to abide by
Rules and Regulations promulgated by the Association, including the building’s animal policy.

ANSWER: Defendants admit the allegations contained in Paragraph 45.

46. Pursuant to the authority of this facially discriminatory service animal policy,
Defendants (l) stopped members of the family when they tried to walk Hadi using the front
entrance or passenger elevator, (2) restricted Charles and Alex’s pathways through the building
when with Hadi, (3) told the Family they needed to be “discreet” in order to keep the service
animal, (4) told Dr. Herbster and Charles they feared the service animal would encourage
emotional support animals in the building, and (5) told Dr. Herbster and Charles that because Alex
does not “look disabled,” residents would be encouraged to keep emotional support animals These
statements and actions violate the federal Fair Housing Act.

ANSWER: Defendants deny the allegations contained in Paragraph 46.

47. Defendants acted intentionally, willfully, and/or in reckless disregard of Plaintiffs’
rights

ANSWER: Defendants deny the allegations contained in Paragraph 47.

COUNT III: HARASSMENT UNDER THE FAIR HOUSING ACT

48. Plaintiffs re-allege and incorporate paragraphs #1-47 as if fully set forth herein.

ANSWER: Defendants re-allege and incorporate their answers to Paragraphs 1-47
as if fully set forth herein.

49. Under the FHA, it is unlawful “to coerce, intimidate, threaten, or interfere with any

person in the exercise or enjoyment of, or on account of his having exercised or enjoyed, or on

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account of his having aided or encouraged any other person in the exercise or enjoyment of, any
right granted or protected by [the Act].” 42 U.S.C. § 3617.

ANSWER: Defendants object to Paragraph 49 on the basis that it is a legal
conclusion and not a statement of fact. Notwithstanding and subject to said objection,
Defendants admit only those duties imposed by law and deny any allegations contained in
Paragraph 49 that are contrary thereto.

5 0. Defendants violated § 3617 of the Fair Housing Act when they (l) told Dr. Herbster
she could not have the dog in the building after they knew about her disability and service animal
for the year between when the family purchased the unit and moved in, and (2) told Charles and
Alex they could not walk the dog out the front or side entrance of the building or use the passenger
elevator with the do g.

ANSWER: Defendants deny the allegations contained in Paragraph 50.

51. Defendants acted intentionally, willfully, and/or in reckless disregard for the
Plaintiffs’ rights

ANSWER: Defendants deny the allegations contained in Paragraph 51.

Respectfully Submitted,

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CONDO, A D PER AND KR¢§MER COMPANY

/,/

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Alexander L. Reich

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on August 15, 2018, a copy of the foregoing was
served by operation of the court’s electronic filing systems upon the party listed below.

Parties may access this filing through the Court’s system. /,,/

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Ale&and`er L. Reich

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